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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

             - against -                                      ORDER

 STUART FINKELSTEIN,                                        19 Mag. 10645
                                                           20 Cr. __ (PGG)
                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the Curcio hearing in this matter currently scheduled

for November 10, 2020 is adjourned to January 11, 2021 at 11:00 a.m.

Dated: New York, New York
       November 6, 2020
